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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

 SYMBOLOGY INNOVATIONS, LLC,
                                                   Civil Action No.: 3:21-cv-00043-FM
              Plaintiff,

       v.                                          TRIAL BY JURY DEMANDED

 CARDINAL HEALTH, INC.,

              Defendant.

                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1), and hereby voluntarily dismisses all of the claims asserted against

Defendant Cardinal Health, Inc. in the within action WITH PREJUDICE. Cardinal Health, Inc.

has not served an answer or a motion for summary judgment.

Dated: August 17, 2021                             Respectfully submitted,

Together with:                                     KIZZIA & JOHNSON, PLLC

Andrew S. Curfman                                  /s/Jay Johnson
(Pro hac vice forthcoming)                         Jay Johnson
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on August 17, 2021 to all counsel of record who are deemed to have consented to

electronic service via the Court’s CM/ECF system.


                                                     /s/Jay Johnson
                                                    Jay Johnson




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